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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                 (Newport News Division)

 JAMES T. PARKER, II, et al.                  )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )       Case No: 4:16-cv-00156-MSD-DEM
                                              )
 FREEDOM MORTGAGE                             )
 CORPORATION, et al.,                         )
                                              )
        Defendants.                           )
                                              )

      CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

                IT IS HEREBY STIPULATED BY AND BETWEEN Plaintiffs, James T. Parker,

 and Debra L. Parker, (“Plaintiffs”), on the one hand, and Defendants, Freedom Mortgage

 Corporation (“Freedom Mortgage”), Equifax Information Services, LLC (“Equifax”), Experian

 Information Solutions, Inc. (“Experian”), and Trans Union, LLC (“Trans Union”) (collectively,

 the “Defendants”), on the other hand, through their respective attorneys of record, as follows:

                WHEREAS, documents, testimony and information have been and may be

 sought, produced or exhibited by and among the parties relating to trade secrets, proprietary

 systems, confidential commercial information, confidential research and development, or other

 proprietary information belonging to the Defendants and/or credit and other confidential

 information of Plaintiffs;

                THEREFORE, it is agreed as follows:

              1.        This Agreement shall govern the use, handling, and disclosure of all

 documents, testimony or information produced or given in this action, which are designated to be

 subject to this Agreement.

              2.        Any documents, testimony or information submitted, either voluntarily or
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 pursuant to any subsequent order, which is asserted in good faith by the producing party or by

 any other party to contain or constitute information protected by Federal Rule of Civil Procedure

 26(c)(1) or other provision of law, shall be so designated in writing, or orally at a deposition,

 hearing or trial and shall be segregated from other information being submitted. Materials so

 designated shall be clearly marked on their face with the legend:          "CONFIDENTIAL" or

 "CONFIDENTIAL-ATTORNEY'S EYES ONLY."                     Such documents, transcripts, or other

 materials, and any information contained in or derived from such materials (including but not

 limited to all deposition testimony that refers, reflects or otherwise discusses such materials) are

 referred   herein   as     "CONFIDENTIAL          MATERIALS"       and    "CONFIDENTIAL-AEO

 MATERIALS," respectively.

              3.          A party wishing to designate portions of a deposition transcript

 CONFIDENTIAL pursuant to this Agreement must, within 3 business days from the conclusion

 of the deposition, order the original or a copy of the transcript of the deposition from the court

 reporter for regular turnaround. The designating party may designate those portions of the

 transcript CONFIDENTIAL or CONFIDENTIAL-ATTORNEY'S EYES ONLY, in accordance

 with paragraph 2 of this Agreement.               The designating party shall designate such

 CONFIDENTIAL MATERIAL or CONFIDENTIAL-AEO MATERIAL either on the record or

 by serving upon all counsel of record via facsimile or other electronic transmission a Notice

 setting forth the page, line numbers and designation. The designating party must serve such

 Notice within 12 calendar days after its counsel receives a copy of the deposition transcript. All

 transcripts will be treated as confidential until the expiration of the 12 day period described in

 this paragraph. Any portions of a transcript designated as confidential shall thereafter be treated

 as confidential in accordance with this Agreement. The parties shall negotiate in good faith to

 alter the time frames set forth in this paragraph in situations where a more expedited filing of a

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 designated portion of the deposition transcript is required.

              4.        All   CONFIDENTIAL          MATERIALS        and    CONFIDENTIAL-AEO

 MATERIALS, and all information derived therefrom (including but not limited to all testimony,

 deposition or otherwise, that refers, reflects or otherwise discusses any such materials), shall not

 be used, directly or indirectly, by any person for any business, commercial or competitive

 purposes or for any purpose whatsoever other than solely for the preparation and trial of this

 action in accordance with this Agreement.

              5.        Subject to paragraph 8, in the absence of prior written permission from the

 designating party or an order by the Court, CONFIDENTIAL MATERIALS shall not be

 disclosed to any person other than: (i) the parties and their attorneys who have agreed to be

 bound by the terms of this Agreement; (ii) qualified persons taking testimony involving such

 material and necessary stenographic and clerical personnel; (iii) disclosed experts and their staff

 employed for this litigation; (iv) present or former employees of the producing party in

 connection with their depositions in this action (provided that no former employees shall be

 shown documents prepared after the date of his or her departure); and (v) the Court, Court

 personnel, and members of any jury impaneled to hear this case.

              6.        Subject to paragraph 8, CONFIDENTIAL MATERIALS shall not be

 disclosed to any person designated in paragraph 5(iii) unless he or she has executed a written,

 dated declaration in the form attached as Exhibit A, acknowledging that he or she has first read

 this Agreement, agreed to be bound by the terms thereof, agreed not to reveal such

 CONFIDENTIAL MATERIALS to anyone, and agreed to utilize such CONFIDENTIAL

 MATERIALS solely for the purposes of this litigation. All persons to whom CONFIDENTIAL

 MATERIALS are disclosed are hereby enjoined from disclosing same to any other person except

 as provided in this Agreement, and are also enjoined from using same except in the preparation

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 for and trial of this case between the named parties thereto. No person receiving or reviewing

 CONFIDENTIAL MATERIALS shall disseminate or disclose them to any person other than

 those described above in Paragraph 5 and for the purposes specified, and in no event shall such

 person make any other use of such CONFIDENTIAL MATERIALS.

              7.        Subject to paragraph 8, in the absence of prior written permission from

 designating party or an order by the Court CONFIDENTIAL-AEO MATERIALS shall not be

 disclosed to any person other than (a) the Receiving Party’s Outside Counsel of record in this

 action, as well as employees of said Counsel to whom it is reasonably necessary to disclose the

 information for this litigation and who have signed the declaration in the form attached hereto as

 Exhibit A; (b) experts specifically retained as consultants or expert witnesses in connection with

 this litigation who have signed the declaration in the form attached hereto as Exhibit A; (c) the

 Court and its personnel; (d) court reporters, their staffs, and professional vendors to whom

 disclosure is reasonably necessary for this litigation and who have signed the declaration in the

 form attached hereto as Exhibit A; and (e) the author of the document or the original source of

 the information.

              8.        In the event that any party disagrees with any designation made under this

 Agreement, the parties shall first try in good faith, via a telephone conference, to resolve the

 disagreement informally. If the dispute cannot be resolved and the receiving party concludes in

 good faith that the materials have been improperly classified, the receiving party shall notify the

 designating party in writing by facsimile or by electronic transmission of its objection, but shall

 continue to maintain the documents or other information as confidential for fifteen (15) business

 days after such notice. The designating party shall have the right to move the Court to retain the

 designated status of such materials. If the designating party files such a motion within the fifteen

 (15) business day period, the receiving party shall continue to retain the materials as

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 CONFIDENTIAL or CONFIDENTIAL-AEO, consistent with the designating party's

 designation, until the Court has ruled on the designating party's motion.

                9.           Any    party   seeking        to     file   CONFIDENTIAL      MATERIALS       or

 CONFIDENTIAL - AEO MATERIALS with the Court shall file such material under seal in

 accordance with Local Rule 5.

               10.           Within sixty (60) days after the conclusion of this case the parties shall

 assemble and return to the designating party all materials containing information designated in

 accordance with paragraph 2, above. The designating party may elect to have its designated

 materials destroyed rather than returned, in which case the other party shall provide written

 verification that the materials, including any summaries, extracts, compilations, notes or other

 attorney work product, have been destroyed, unless so ordered by the Court.

               11.           Nothing in this Agreement shall prevent a party from using at deposition,

 arbitration    or   trial    any    information      or        materials   designated   CONFIDENTIAL      or

 CONFIDENTIAL–ATTORNEYS’ EYES ONLY provided the designated documents do not

 become part of the public record.

               12.           This Agreement shall remain binding after the conclusion of this case

 unless otherwise ordered by the Court, and the Court shall retain jurisdiction over all parties

 bound hereby for the purposes of enforcing this Agreement.                       Each individual signing the

 acknowledgment attached as Exhibit A agrees to be subject to the jurisdiction of this Court for

 purposes of this Agreement.

               13.           This Agreement does not prevent any party from seeking to seal trial

 transcripts and/or trial exhibits, including documents previously filed under seal, or from seeking

 any other similar relief pursuant to Local Rule 5.

               14.           Neither the entry of this Agreement, nor the designation of any material as

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 "CONFIDENTIAL" or "CONFIDENTIAL-AEO," nor the failure to make such designation, shall

 constitute evidence on any issue in this case. The designation of any materials as

 "CONFIDENTIAL" or "CONFIDENTIAL-AEO" does not waive that party's objection to any

 discovery on the ground that it seeks information protected by Federal Rule of Civil Procedure

 26(c) or other provision of law.

             15.       Nothing herein shall affect or restrict the rights of any party with respect

 to its own documents or to the information obtained or developed independently of materials

 afforded confidential treatment pursuant to this Agreement.

             16.       This Agreement may be joined by other parties to this action, who may

 evidence their consent to its terms by executing this Agreement in counterparts.

        Agreed and stipulated to this 28th day of April, 2017, by:



 /s/                                               /s/
 Leonard C. Bennett                                David N. Anthony, VSB #: 31696
 Craig Marchiando                                  Troutman Sanders LLP
 Elizabeth W. Hanes                                1001 Haxall Point
 Consumer Litigation Associates, P.C.              Richmond, VA 23219
 763 Clyde Morris Blvd., 1-A                       Telephone: (804) 697-5410
 Newport News, Va. 23601                           Facsimile: (804) 698-5118
 Tel.: (757) 930-3660                              david.anthony@troutmansanders.com
 Fax: (757) 930-3662
 lenbennett@clalegal.com
 craig@clalegal.com                                Counsel for Defendant, Experian Information
 ehanes@clalegal.com                               Solutions, Inc.

 Counsel for Plaintiffs,
 James T. Parker, II and
 Debra L. Parker




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 /s/                                             /s/
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 gwright@lawmh.com                               jmontgomery@jwm-law.com


 Counsel for Defendant, Trans Union, LLC         Counsel for Defendant,
                                                 Equifax Information Services, LLC


 /s/
 Simran Rahi, VSB #: 79859
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 (202) 507-5156
 (202) 822-0140
 srahi@stradley.com
 Counsel for Defendant,
 Freedom Mortgage Corporation



                                                       SO ORDERED,



                                                       HON. MARK STEVEN DAVIS,
                                                       UNITED STATES DISTRICT JUDGE




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                                                                                      # 3117029
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                                 EXHIBIT A




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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                 (Newport News Division)

 JAMES T. PARKER, II, et al.                  )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )       Case No: 4:16-cv-00156-MSD-DEM
                                              )
 FREEDOM MORTGAGE                             )
 CORPORATION, et al.,                         )
                                              )
        Defendants.                           )
                                              )

                       DECLARATION OF
                       UNDER STIPULATED PROTECTIVE ORDER

        I,                                            , being duly sworn, declare as follows:

        1.      My address is                                                               .

        2.      My present employer is                                                      .

        3.      My present occupation of job description is

        4.      I hereby acknowledge that (i) I have been given a copy of the Stipulated

 Protective Order (“Protective Order”) in the above referenced case; (ii) I carefully read the

 Protective Order; and (iii) I understand and am familiar with the terms of the Protective Order.

        5.      I will comply with all the provisions of the Protective Order. I will hold all

 Confidential Materials disclosed to me, including the substance and any copy, summary abstract,

 excerpt, index or description, in confidence, and will not disclose such material to anyone not

 qualified under the Protective Order. I will not use any Confidential Material disclosed to me for

 any purposes other than this case.

        6.      I will return all Confidential Material that comes into my possession and all

 documents and things that I have prepared relating thereto, to counsel for the party by whom I

 am retained or employed, or from whom I have received such material.
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         7.      I hereby submit to the jurisdiction of the United States District Court for the

  Eastern District of Virginia for the purpose of enforcement of the Protective Order in this case.

         I declare under penalty of perjury that the foregoing is true and correct.




                                                                                              # 3102228
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